                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                              3:08-cv-540

Luanna Scott, et al.,                  )
                                       )
             Plaintiffs,               )
                                       )
vs.                                    )
                                       )
                                       )
Family Dollar Stores, Inc.,            )
                                       )
             Defendant.                )

        ORDER APPROVING CY PRES PAYMENT OF REMAINING
               UNDISTRIBUTED SETTLEMENT FUNDS

       THIS MATTER is before the Court pursuant to the parties’ joint motion for

entry of an Order approving a payment of the remaining undistributed settlement

funds of $70,628.25 to the National Women’s Law Center as a cy pres recipient.

(#339). Having considered the parties’ motion and the Settlement Agreement

previously approved in this case, the Court enters the following findings, conclusion,

and Order granting approval of payment of the remaining undistributed settlement

funds of $70,628.25 to the National Women’s Law Center:

        The parties have stipulated that: (1) $70,628.25 of the settlement funds

previously approved in this case remain undistributed after compliance with all

provisions of the parties’ Settlement Agreement; (2) the large size of the class and

the relatively small amount of the remaining settlement funds make it impractical to

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distribute the remaining funds to class members pro rata because the cost of such

distribution would consume the entire fund, leaving nothing to distribute; (3) the

plaintiff class will be better served by distributing such funds to a cy pres recipient

dedicated to representing women’s interest in equal pay for equal work; and (4) the

National Women’s Law Center fulfills that purpose.

      IT IS THEREFORE ORDERED that the parties’ joint motion for entry of

an Order approving a payment of the remaining undistributed settlement funds of

$70,628.25 to the National Women’s Law Center is GRANTED.



                                       Signed: October 22, 2021




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